             Case: 5:19-cv-00207-JMH Doc #: 3 Filed: 05/09/19 Page: 1 of 2 - Page ID#: 38

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District
                                                    __________  DistrictofofKentucky
                                                                             __________

                      William Cornelius                              )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.     5:19-cv-207-JMH
                                                                     )
           Capital One Bank (USA), N.A. et al.                       )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Capital One Bank (USA), N.A.
                                           4851 Cox Road
                                           Glen Allen, VA 23060




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: James McKenzie                                James H. Lawson
                                           James R. McKenzie Attorney, PLLC      Lawson at Law, PLLC
                                           115 S. Sherrin Avenue, Suite 5        115 S. Sherrin Avenue, Suite 5
                                           Louisville, KY 40207                  Louisville, KY 40207



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             05/09/2019
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                                                               jj
              Case: 5:19-cv-00207-JMH Doc #: 3 Filed: 05/09/19 Page: 2 of 2 - Page ID#: 39

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature

                                                                                         James McKenzie
                                                                                        Printed name and title

                                                                               James R. McKenzie Attorney, PLLC
                                                                                 115 S. Sherrin Avenue, Suite 5
                                                                                      Louisville, KY 40207
                                                                                            Server’s address

 Additional information regarding attempted service, etc:
